                                                               Case
                                                                Case2:12-cr-00268-JAD-CWH
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                                                              6
                                                                   Attorneys for Young Hie Choi
                                                              7
                                                                                                 UNITED STATES DISTRICT COURT
                                                              8
                                                                                                         DISTRICT OF NEVADA
                                                              9

                                                              10     UNITED STATES OF AMERICA,                           CASE NO.: 2:12-cr-00268-JAD-CWH
                                                              11                        Plaintiff;
1070 W. HORIZON RIDGE PKWY., SUITE 202




                                                                                                                         STIPULATION TO CONTINUE
  KATHLEEN BLISS LAW PLLC




                                                              12          vs.                                            SENTENCING HEARING AND
                                                                                                                         PROPOSED ORDER
      HENDERSON NEVADA 89012




                                                              13     YOUNG HIE CHOI, et. al.,
                                                                                                                         (Fourth Request)
                                         TEL – 702.463.9074




                                                              14

                                                              15                        Defendants.
                                                              16          IT IS HEREBY STIPULATED AND AGREED, by and between Kimberly Frayn,

                                                              17   Assistant United States Attorney, counsel for the United States of America; and Kathleen Bliss,

                                                              18   counsel for defendant Young Hie Choi, that the sentencing hearing currently scheduled for October

                                                              19   2, 2017, be VACATED and reset to a time convenient for the Court, preferably during the week

                                                              20   of November 6, 2017, should the Court’s calendar allow it. This stipulation is entered into based

                                                              21   upon the following:

                                                              22          1. The parties continue to attempt to negotiate an agreed upon restitution amount.

                                                              23          2. Counsel for the United States has been out of the office on medical leave and requires

                                                              24                additional time to review defendant’s expert report and analyze the restitution issue.

                                                              25          3. It is anticipated that a forensic accountant may need to testify on behalf of the defendant

                                                              26                as to the restitution issue at the sentencing hearing. This expert is available the week of

                                                              27                November 6, 2017. The government’s agent is also available to testify the week of

                                                              28                November 6.

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                                                              1
                                                                          4. The defendant is not incarcerated and does not object to the continuance.
                                                              2
                                                                          5. The government agrees to the continuance.
                                                              3
                                                                          6. This is the fourth request to continue the sentencing hearing date filed herein.
                                                              4

                                                              5

                                                              6    Dated this 19th day of September 2017.

                                                              7
                                                                   /S/ Kimberly Frayn_____________                /S/ Kathleen Bliss
                                                              8    Kimberly Frayn                                 Kathleen Bliss, Esq.
                                                              9    Assitant United States Attorney                Attorney for defendant Young Hie Choi
                                                                   Attorney for the United States
                                                              10

                                                              11
1070 W. HORIZON RIDGE PKWY., SUITE 202
  KATHLEEN BLISS LAW PLLC




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      HENDERSON NEVADA 89012




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                                                              1                               UNITED STATES DISTRICT COURT

                                                              2                                     DISTRICT OF NEVADA

                                                              3
                                                                     UNITED STATES OF AMERICA,                     CASE NO.: 2:12-cr-00268-JAD-CWH
                                                              4
                                                                                     Plaintiff;
                                                              5                                                    ORDER TO CONTINUE SENTENCING
                                                                          vs.                                      HEARING
                                                              6
                                                                     CHOI, et al.,
                                                              7
                                                                                     Defendants.
                                                              8

                                                              9           Based upon the stipulation of counsel, and good cause appearing, IT IS HEREBY
                                                              10   ORDERED that the sentencing hearing currently scheduled for October 2, 2017, be and the same
                                                              11   hereby is VACATED and continued to _____________________ at thea.m.
                                                                                                      November 6, 2017 at 10:00    hour of _________.
1070 W. HORIZON RIDGE PKWY., SUITE 202
  KATHLEEN BLISS LAW PLLC




                                                              12          DATEDthis
                                                                          DATED this_____
                                                                                     19th day    September, 2017.
                                                                                          day of ___________________, 2017.
      HENDERSON NEVADA 89012




                                                              13
                                         TEL – 702.463.9074




                                                              14                                                     _________________________________
                                                              15                                                     The Honorable Jennifer A. Dorsey
                                                                                                                      United States District Judge
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